IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,
PENNSYLVANIA
CIVIL ACTION LAW

CHRISTINE BIROS
Plaintiff

¥s No. 4886 of 2017
DENISE SCHUR, Executrix of the ESTATE
OF ALEX SCHUR, HENRY L. MOORE

and SUSAN STANO, Co-Executors of the
ESTATE OF NICHOLAS SCHUR,
KATHLEEN 8S. WALTER, Executor of the
ESTATE OF MICHAEL SCHUR,

CYNTHIA SARRIS, Administrator of the
ESTATE OF ANN SARRIS and U LOCK INC
a Pennsylvania corporation,

Defendants

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GINA O’BARTO

PROTHONOTARY

By the Court:

  

Minon Pleas

     
  
  
   
  

 
  
 
